     Case 2:17-cv-06882-MWF-AS Document 143-1 Filed 08/29/22 Page 1 of 4 Page ID #:3982




 1 GERARD FOX LAW P.C.
   Gerard P. Fox (SBN 151649)
 2 gfox@gerardfoxlaw.com
   Marina V. Bogorad (SBN 217524)
 3 mbogorad@gerardfoxlaw.com
   Olga Viner (SBN 282423)
 4 oviner@gerardfoxlaw.com
   1880 Century Park East, Suite 1410
 5 Los Angeles, CA 90067
 6 Telephone: (310) 441-0500
   Facsimile: (310) 441-4447
 7
   Attorneys for Plaintiffs
 8 SEAN HALL D.B.A. GIMME SOME HOT
   SAUCE MUSIC AND NATHAN BUTLER
 9 D.B.A. FAITH FORCE MUSIC
10                           UNITED STATES DISTRICT COURT
11                         CENTRAL DISTRICT OF CALIFORNIA
12
      SEAN HALL d.b.a. GIMME SOME HOT            Case No. 2:17-cv-06882 MWF (ASx)
13    SAUCE MUSIC, et al.,
14                    Plaintiffs,
15                                               DECLARATION OF LOREN YUKIO
      vs.                                        KAJIKAWA IN SUPPORT OF
16
      TAYLOR SWIFT, et al.,                      PLAINTIFFS’ OPPOSITION TO
17                                               DEFENDANTS’ SECOND MOTION
                     Defendants.                 FOR SUMMARY JUDGMENT OR, IN
18
                                                 THE ALTERNATIVE, PARTIAL
19                                               SUMMARY JUDGMENT
20
21                                               Date: October 3, 2022
22                                               Time: 10:00 a.m.
                                                 Ctrm: 5A
23
24                                               Action Filed: September 18, 2017
25
26
27
28
     Case 2:17-cv-06882-MWF-AS Document 143-1 Filed 08/29/22 Page 2 of 4 Page ID #:3983




 1                          DECLARATION OF LOREN KAJIKAWA
 2         I, Loren Yukio Kajikawa, declare and state as follows:
 3         1.     I am over the age of 18 and I have personal knowledge of the following facts
 4 and could competently testify to these facts if called upon to do so.
 5         2.     I am an academic musicologist, a tenured professor of music at The George
 6 Washington University, and hold an M.A. and Ph.D. in Musicology. I am also the chair of
 7 the Music Program at George Washington University’s Corcoran School of the Arts &
 8 Design. Additionally, I am the co-editor of the Tracking Pop series at the University of
 9 Michigan Press as well a member of the editorial board for the Journal of Popular Music
10 Studies.     My areas of study and writing include analyzing and historicizing U.S. popular
11 music genres, as well as analyzing sonic properties of music and poetic qualities of song lyrics
12 in American popular music. My scholarship also focuses on areas of American music of the
13 twentieth and twenty-first centuries with focuses on African American music, rap, hip-hop,
14 and the impact of race and politics on music.
15         3.     I was asked in connection with this matter to perform a comparative
16 musicological analysis of the lyrics in Playas Gon’ Play (“Playas”) and Shake It Off
17 (“Shake”). A true and correct copy of my initial Report, dated April 30, 2021, setting out my
18 qualifications, analysis of the lyrical works, Playas and Shake, and my conclusions as to those
19 lyrical works was submitted as Plaintiffs’ Exhibit 2 [Dkt. No. 98-4].
20         4.     Last year, I was also asked to review and consider the Reports of Defendants’
21 designated expert witnesses, Dr. Lawrence Ferrara, Prof. Nathaniel Lewis, and Prof.
22 Marcyliena Morgan. True and correct copies of my Rebuttal Reports dated May 21, 2021,
23 which set out my conclusions regarding the Reports of, respectively, Dr. Ferrara, Prof. Lewis
24 and Prof. Morgan, were submitted as Plaintiffs’ Exhibits 3, 4 and 5 [Dkt. Nos. 98-5-98-7].
25         5.     Earlier this year, I was asked again to perform a comparative musicological
26 analysis of the lyrics of in Playas and Shake. Attached to this Declaration as Plaintiffs’
27 Exhibit 22 is a true and correct copy of my Report, dated May 27, 2022, setting out my
28 qualifications, analysis of the lyrical works, Playas and Shake, and my conclusions as to those
                                                   1
     Case 2:17-cv-06882-MWF-AS Document 143-1 Filed 08/29/22 Page 3 of 4 Page ID #:3984




 1 lyrical works.
 2         6.     I was also asked to review and consider the Reports of Defendants’ designated
 3 expert witnesses, Prof. Nathaniel Lewis, Barry M. Massarsky and Jim Parham, dated May 27,
 4 2022. Attached to this Declaration as Plaintiffs’ Exhibit 23 is a true and correct copy of my
 5 Rebuttal Report, dated July 8, 2022, which sets out my conclusions regarding Prof. Lewis’
 6 May 2022 Report.
 7         7.     My 2021 and 2022 Reports and Rebuttal Reports are each made a part of and
 8 incorporated in this Declaration, and I can and do testify to my statements, analyses, and
 9 conclusions in my 2021 and 2022 Reports and Rebuttal Reports.
10         8.     As set out in more detail in my initial and Rebuttal Reports, and by applying
11 objective analyses and established and recognized principles applicable to the study of
12 musicology and, in particular, lyrics as found in popular songs, I have concluded that the
13 respective choruses of Playas and Shake are virtually identical based on my observations that
14 the choruses use strikingly similar phraseology that functions in identical fashion. Indeed, I
15 reiterated on many occasions that it is my opinion that the lyrical sequences at issue are nearly
16 identical.
17         9.     To the extent these conclusions are not sufficiently clear, they necessarily mean
18 that I believe that it is virtually impossible that the two lyrical sequences at issue could have
19 been independently created or resulted from a pure coincidence.
20         10.    In this connection, I would like to briefly respond to Defendants’ “facts”
21 concerning my purported opinions on copying in this case. As a retained musicology expert
22 in this case, I was not asked to determine whether Shake did (or did not) in fact copy Playas;
23 rather, I have been asked to perform a musicological analysis that objectively compares the
24 allegedly infringed expression with the allegedly infringing expression as both literary works
25 and on the selection/arrangement basis. It is as a result of that comparison that I arrived at
26 the conclusions above.
27         11.    As I further set forth in my reports, I believe that any differences in the
28 sequences are negligible. Thus, for example, as I already opined, the repetition of lyrics in
                                                   2
     Case 2:17-cv-06882-MWF-AS Document 143-1 Filed 08/29/22 Page 4 of 4 Page ID #:3985




 1 Shake is functional to its upbeat tempo and appears to be nothing but a performative choice.
 2 Moreover, the supposed romance v. self-love distinction is not cognitively important, as both
 3 sequences serve as the same basic thematic center to convey the idea that one need not be
 4 concerned with that others say but stay true to oneself instead. In other words, in my opinion,
 5 none of the asserted differences between the lyrical sequences at issue signifies a different
 6 purpose or character in Shake—rather, the latter merely repackages the original without
 7 adding any new insights, aesthetic or understanding. It is the same basic premise expressed
 8 in nearly identical way.
 9         12.    As I previously opined, I believe that the chorus of Playas is an original
10 innovation that was the first to express the idea of self-confidence and self-belief in the catchy
11 way that Shake copied. The lyrics in question in Playas are of value because they are
12 immediately intelligible, catchy, and tell us a lot about the speaker in as few words as possible.
13 For these reasons, I believe the lyrics in Playas are both worthy of protection and in need of
14 protection, as it is likely to be in demand for uses similar to that of Defendants.
15         I declare under penalty of perjury that the foregoing is true and correct. Executed on
16 August 29, 2022.
17
18
19
20                                                               ________________________
                                                                 LOREN YUKIO KAJIKAWA
21
22
23
24
25
26
27
28
                                                    3
